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                                                                   FILED
                                                        UNITED STATES DISTRICT COURT
                                                             DENVER, COLORADO
                                                                8:51 am, Mar 22, 2022

                                                          JEFFREY P. COLWELL, CLERK




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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                 Eastern District
                                               __________         of Wisconsin
                                                           District  of __________

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.        0-   
                          Janos Rigo
                                                                   )      Colorado Case: 1:22-mj-00049-NYW
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               01/31/22 - 02/10/22              in the countLHV of Milwaukee and Waukesha                   in the
      Eastern          District of        Wisconsin            , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. Section 1029(a)(3) and             Conspiracy to knowingly, and with intent to defraud, possess fifteen or more
(b)(2)                                       unauthorized access devices, namely credit and debit card numbers,
                                             affecting interstate and foreign commerce.




         This criminal complaint is based on these facts:
See Attached affidavit




         ✔ Continued on the attached sheet.
         u
                                                                                                            Digitally signed by WILLIAM L
                                                                            WILLIAM L CHRONES               CHRONES
                                                                                                            Date: 2022.03.17 15:21:26 -05'00'
                                                                                              Complainant’s signature

                                                                                 Special Agent William Chrones, U.S.S.S.
                                                                                               Printed name and title

Sworn YLDWHOHSKRQHWUDQVPLWWHGYLDHPDLO
SXUVXDQWWR)HG5&ULP

Date:             03/17/2022
                                                                                                 Judge’s sign
                                                                                                         signature
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                                                                                                             naatture

City and state:                    Milwaukee, Wisconsin                     Honorable William E. Duffin, U.S. Magistrate Judge
                                                                                               Printed name and title


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                                     AFFIDAVIT

      I, WILLIAM CHRONES, being duly sworn, state as follows:

      1.       I am a Special Agent with the United States Secret Service (“USSS” or

“Investigating Agency”). I am currently assigned to the USSS Chicago Field Division.

I have been employed as a Special Agent for 15 years. During my time as a Special

Agent, I have participated in investigations into wire fraud, access device fraud, bank

device fraud, and counterfeiting. My investigations have included the use of GPS

tracking warrants, and I have been involved in various types of electronic

surveillance, and in the debriefing of defendants, witnesses, informants, and others

who have knowledge of criminal activities. I have further been involved in the

preparation of affidavits for search warrants, and I have participated in the execution

of searches.

      2.       This affidavit is submitted in support of a criminal complaint charging

JANOS RIGO (“RIGO) with conspiring with Mircea Barzecu and Individual A to

knowingly, and with intent to defraud, possess fifteen or more unauthorized access

devices, namely credit and debit card numbers, affecting interstate and foreign

commerce,

in violation of Title 18, United States Code, Sections 1029(a)(3) and 1029(b)(2).

      3.       Because this affidavit is being submitted for the limited purpose of

establishing probable cause in support of a criminal complaint JANOS RIGO with

conspiring to possess unauthorized access devices, I have not included each and every

fact known to me concerning this investigation. I have set forth only the facts that I




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believe are necessary to establish probable cause to believe that the defendants

committed the offense alleged in the complaint.

        4.    This affidavit is based on my personal knowledge, information provided

to me by other law enforcement agents and officers, information received from other

witnesses, review of surveillance photographs and videos, review of public records

databases, my training and experience, and the training and experience of other law

enforcement agents.

   I.        SUMMARY

        5.    In summary, and as set forth more fully below, RIGO, along with

Individual A and Barzecu, have been placing “overlay” credit card skimming devices

on point of sale (“POS”) payment terminals at numerous Walmart locations in Illinois,

Minnesota, and Wisconsin since at least December 2021. Skimming devices are

machines that can be surreptitiously placed over a payment terminal and used to

obtain all the payment card information (including the accountholder name, card

number and expiration date) from cards subsequently used at that terminal.

According to Walmart, between the time of placement and the time of recovery, the

recovered skimming devices placed collectively by RIGO, Individual A and Barzecu

have had access to payment card information for approximately 7,873 credit cards,

gift cards and debit cards.

        6.    Surveillance videos captured the defendants and their co-conspirator

entering and exiting the victim Walmart locations and placing the skimming devices

on POS terminals. Surveillance footage also captured Barzecu and RIGO attempting




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to and successfully using counterfeit access devices at ATM locations in Wisconsin.

         7.     Multiple surveillance videos showed Barzecu and RIGO using a rented

Mazda SUV (the “Mazda”) to travel to victim Walmart locations. On February 18,

2022, Magistrate Judge Jeffrey Cole of the United States District Court for the

Northern District of Illinois signed a search warrant allowing law enforcement to

place a GPS tracking device on the Mazda. On March 14, 2022, law enforcement

conducted a traffic stop of the Mazda and identified RIGO and Barzecu as the

occupants. Immigration and foreign identification documents show that RIGO and

Barzecu match the appearance of the individuals who placed skimming devices in

numerous victim Walmart locations.

         8.     On or about March 16, 2022, RIGO and Barzecu used the Mazda to

travel to Littleton, Colorado. Barzecu and RIGO went into two Colorado Walmart

locations and attempted to use multiple counterfeit access devices. Law enforcement

surveillance observed them travel to several other retail stores and ATM machines

and use or attempt to use access devices.

   II.        FACTS SUPPORTING PROBABLE CAUSE

              a. Walmart Report of Skimming Scheme to Law Enforcement

         9.     Since January 2022, I have been involved in an investigation into

Barzecu, Individual A and RIGO. On or about January 12, 2022, a Walmart Global

Investigator informed me that between December 21 and December 26, 2021,

employees at four Chicago area Walmart stores (located in Bedford Park, Cicero,

Northlake, and Niles) had discovered “overlay” credit card skimming devices placed




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on Point-of-Sale (“POS”) terminals. Walmart’s internal review of these skimming

devices determined that the devices had Bluetooth capabilities, enabling the devices

to wirelessly transmit the stolen data.    Based on Walmart’s internal review of

surveillance video, these devices were applied by two male subjects (Individual A and

a man subsequently identified during the course of this investigation as Barzecu, as

set forth in more detail below).

      10.    On February 7, 2022, the Walmart Global Investigator informed me that

Walmart had identified additional instances where two men (Barzecu and RIGO),

placed skimming devices on POS terminals at seven additional Walmart locations

throughout Wisconsin and Minnesota.

      11.    By reviewing transactions at the impacted POS terminals, Walmart

investigators determined that the Bluetooth overlay skimmers deployed by Barzecu,

Individual A and RIGO had access to at least 7,873 personal credit card numbers, gift

card numbers and debit card numbers prior to the devices being discovered and

removed by local asset protection agents at each location.

      12.    According to Walmart investigators, pursuant to Walmart policy,

Walmart employees removed the skimming devices on the POS terminals when the

devices were identified.

      13.    Based on my training and experience and my review and analysis of the

devices that we have seized, the Bluetooth technology used by the skimming devices

would have allowed Barzecu, Individual A and RIGO to obtain the stolen access card




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information remotely, without physically returning to the POS terminal to retrieve

the device.

       14.     Walmart investigators provided me with Walmart surveillance footage

of Barzecu, Individual A and RIGO deploying the skimming devices, entering and

exiting the Walmart locations, and exiting and entering parking lots near the

Walmart locations. My descriptions of each incident below are based on my review of

Walmart surveillance footage, as well as other surveillance footage, and my

communications with Walmart investigators.

             b. December 21-26, 2021: Barzecu and Individual A Deploy
                Skimming Devices at Chicago Area Walmart Locations

                  i. December 21, 2021 Barzecu and Individual A Deploy
                     Skimming Device at Cicero Walmart

       15.     On December 21, 2021, at approximately 11:11 a.m., a skimming device

was placed on a POS terminal at Walmart Store #3004, located at 3320 S. Cicero

Avenue, in Cicero, Illinois (the “Cicero Walmart”).

       16.     Walmart surveillance videos and photographs show Barzecu 1 and

Individual A, entering the Walmart together, from the parking lot, at approximately

10:30 a.m. Barzecu (identified by the red arrow below) is the heavier male with his


1 As set forth in more detail below, BARZECU was identified based on the following: First,
on March 14, 2022, law enforcement conducted a traffic stop of the Mazda used by the
fraudsters to travel to several victim Walmart locations to deploy the skimming devices.
During the traffic stop, BARZECU provided a Romanian identification card indicating his
name was Mircea Barzecu. Second, surveillance footage of the fraudsters engaged in
deploying skimming devices at victim Walmart locations depict an individual matching the
appearance of BARZECU at the time of that traffic stop, specifically a heavy-set male, in his
20’s or 30’s, with a beard. Third, in surveillance footage from December 26, 2022, in
Northlake, Illinois shows that the individual deploying the skimming device had an eagle
tattoo on his upper back and neck, matching BARZECU’s eagle tattoo.



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      19.    On December 26, 2021, Cicero Walmart employees identified a

skimming device affixed to the POS terminal used by Barzecu and Individual A.

Walmart employees removed the skimming device.

      20.    According to Walmart records, between December 21 and December 26,

2021, the skimming device had access to payment information for 1,162 payment

cards, including 728 debit cards, 57 Mastercard credit cards, 5 American Express

credit cards, 7 Discover cards, 99 Visa credit cards, 35 Walmart credit cards, 4 Sam’s

Club credit cards, and 227 EBT cards.

               ii. December 21, 2021: Barzecu and Individual A Deployed
                   Skimming Device at Bedford Park Walmart

      21.    On December 21, 2021, about one hour after BARZECU and Individual

A left the Cicero Walmart, at approximately 12:13 p.m., BARZECU and Individual A

affixed a skimming device to a POS terminal at Walmart Store #1938, located at 7050




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 S. Cicero Avenue, in Bedford Park, Illinois (the “Bedford Park Walmart”).     The

 Bedford Park Walmart is located approximately 5 miles south of the Cicero Walmart.




       23.   Barzecu and Individual A are wearing the same clothing that they wore

 at the Cicero Walmart, and they match the physical appearance of the individuals

 from the Cicero Walmart skimming incident.

       24.   At approximately 12:13 p.m., Walmart surveillance captured Individual

 A placing a skimming device on a POS terminal, with Barzecu standing next to him.

 Below is a screenshot:




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       25.   At approximately 12:16 p.m., Barzecu and Individual A exited the

 Bedford Park Walmart. A screenshot is below:




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       26.    On December 26, 2021, Bedford Park Walmart employees identified a

 skimming device affixed to the POS terminal used by Barzecu and Individual A.

 Walmart employees removed the skimming device.

       27.    According to Walmart records, between December 21, 2021 and

 December 26, 2021, the skimming device had access to payment information for 788

 payment cards, including 481 debit cards, 45 Mastercard credit cards, 6 American

 Express credit cards, 7 Discover cards, 8 Visa credit cards, 21 Walmart credit cards,

 3 Sam’s Club credit cards, and 134 EBT cards.

                iii. December 26, 2021: Barzecu and Individual A Deployed
                     Skimming Devices at the Niles Walmart

       28.    On December 26, 2021, at approximately 12:02 p.m., a skimming device

 was placed on a POS terminal at Walmart Store #3725 in Niles, Illinois, (the “Niles

 Walmart”).

       29.    Walmart surveillance videos and photographs show Barzecu and

 Individual A entering the Walmart together from the parking lot at approximately

 11:52 a.m. Barzecu is wearing the same puffy Adidas jacket and Jordan brand

 sneakers as in previous incidents. Individual A is wearing the same North Face puffy

 jacket as in previous incidents. A screenshot is below:




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       30.   At approximately 12:02 p.m., Walmart surveillance captured Barzecu

 placing a skimming device on a POS terminal, with Individual A standing next to

 him. Below is a screenshot:




       31.   At approximately 12:02 p.m. Barzecu and Individual A exited the

 Walmart together. A screenshot is below:




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          32.   On December 26, 2021, at 3:09 p.m., Niles Walmart employees identified

 a skimming device affixed to the POS terminal used by Barzecu and Individual A.

 Walmart employees removed the skimming device.

          33.   According to Walmart records, between 12:02 p.m. and 3:09 p.m., the

 skimming device had access to payment information for 36 payment cards, including

 16 debit cards, 10 Mastercard credit cards, 1 Discover cards, 4 Visa credit cards, 3

 Walmart credit cards, and 2 EBT cards.

                  iv. December 26, 2021: Barzecu and Individual A Deployed
                      Skimming Devices at the Northlake Walmart

          34.   On December 26, 2021, a skimming device was placed on a POS terminal

 at Walmart Store #1933 in Northlake, Illinois (the “Northlake Walmart”) at

 approximately 1:32 p.m. The Northlake Walmart is about 15 miles southwest of the

 Niles Walmart.

          35.   Walmart surveillance captures Barzecu and Individual A entering the

 Northlake Walmart together at approximately 1:08 p.m. They are wearing the same

 clothes they were wearing at the Niles Walmart an hour earlier. A screenshot is

 below:




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        36.     Walmart surveillance shows Individual A placing a skimming device on

 a POS terminal at 1:32 p.m. A screenshot is below:




        37.     At approximately 2:15 p.m., a Walmart employee removed the skimming

 device. Walmart records show that the skimming device had access to payment

 information for 7 payment cards, including 4 debit cards and 3 Visa card.

        38.     Walmart surveillance appeared to show Barzecu and Individual A

 exiting the Walmart and getting into a red SUV, but surveillance did not capture

 details for the vehicle.

              c. January 31-February 10, 2022: Barzecu, Individual A and RIGO
                 Deployed Skimming Devices at Wisconsin and Illinois Walmart
                 Locations

                   i. January 31, 2022: RIGO and Barzecu Deployed Skimming
                      Device at Muskego Walmart

        39.     On January 31, 2022, at approximately 10:27 a.m., a skimming device

 was placed on a POS terminal at Walmart Store #4677, located at W 159 S. 6530

 Moorland Road, in Muskego, Wisconsin (the “Muskego Walmart”).




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        40.    Walmart surveillance shows Barzecu and RIGO 2 enter the Muskego

 Walmart parking lot at 10:17 a.m., in a dark colored SUV. Screenshots are below:




 2 As set forth in more detail below, RIGO was identified based on the following: First, on
 March 14, 2022, law enforcement conducted a traffic stop of the Mazda used by the fraudsters
 to travel to several victim Walmart locations to deploy the skimming devices. During the
 traffic stop, RIGO provided a Hungarian identification card indicating his name was “Janos
 Rigo.” Second, surveillance footage of the fraudsters engaged in deploying skimming devices
 at victim Walmart locations depict an individual matching the appearance of RIGO at the
 time of that traffic stop, specifically a middle-aged male, with grey hair and dark eyes. Third,
 an Illinois tollway surveillance camera captured a mask-less individual matching the
 appearance of RIGO driving the Mazda 40 miles south of the Greendale Walmart where
 RIGO and Barzecu placed a skimming device two hours earlier.



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       41.    Walmart surveillance shows RIGO and Barzecu entering the Muskego

 Walmart together at 10:21 a.m. RIGO is identifiable as the man with gray hair,

 wearing a Puma baseball cap. Barzecu is wearing the same puffy Adidas jacket that

 he was wearing in the December 21, 2021 and December 26, 2021, deployment of

 skimming devices at Chicago area Walmart stores. Barzecu has the same build and

 beard as captured by the earlier surveillance footage. A screenshot is below:




       42.    Walmart surveillance captured RIGO placing the skimming device on a

 POS terminal while Barzecu stands next to him and watches. A screenshot is below:




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       43.   Walmart surveillance captured RIGO and Barzecu exiting the Muskego

 Walmart together, getting into the same dark colored SUV, and exiting the Walmart

 parking lot at 10:31 a.m., shortly after they placed the skimming devices on the POS

 terminal. Screenshots are below:




       44.   Walmart employees removed the skimming device at 1:34 p.m. on

 January 31, 2022. Walmart records show that the skimming device had access to

 payment information for 704 payment cards, including 345 debit cards, 7 American

 Express cards, 14 Discover cards, 80 Mastercard credit cards, 234 Visa cards, 6

 Walmart credit cards, and 18 EBT cards.




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                  ii. January 31, 2022: RIGO and Barzecu Deployed Skimming
                      Device at Greendale Walmart

          45.   On January 31, 2022, at approximately 11:17 a.m., Walmart

 surveillance captured RIGO and Barzecu jointly entering Walmart Store # 5668,

 located at 5301 S. 76th Street, Greendale, Wisconsin (the “Greendale Walmart”). The

 Greendale Walmart is about 6 miles west of the Muskego Walmart. A screenshot is

 below:




          46.   At approximately 11:25 a.m., Walmart surveillance captured RIGO

 placing a skimming device on a POS terminal at the Greendale Walmart. A

 screenshot is below:




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       47.    RIGO and Barzecu exited the Greendale Walmart at approximately

 11:29 a.m. Surveillance did not capture the vehicle in which RIGO and Barzecu exited

 the Greendale Walmart parking lot.

       48.    Greendale Walmart employees removed the skimming device at

 approximately 1:14 p.m. on February 6, 2022. The skimming device had recorded 629

 different payment cards.

                iii. January 31, 2022: Individual A Deployed Skimming Device
                     at Naperville Walmart

       49.    On January 31, 2022, at approximately 1:48 p.m. Walmart surveillance

 captured Individual A, without any accomplices, entering Walmart Store #1401,

 located in Naperville, Illinois (the “Naperville Walmart”).

       50.    Walmart surveillance captured Individual A placing a skimming device

 on a POS terminal at 2:13 p.m. at the Naperville Walmart.

       51.    Walmart surveillance captured Individual A exiting the Naperville

 Walmart at approximately 2:18 p.m. Surveillance from a nearby Starbucks captured

 Individual A in a white SUV. Surveillance did not capture identifying details for the

 vehicle.

       52.    At approximately 4:40 p.m. on February 2, 2022, Walmart employees

 removed the skimming device.

                iv. February 4, 2022: RIGO and Barzecu Deployed Skimming
                    Device at Milwaukee Walmart




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       53.    On February 4, 2022, at approximately 10:33 a.m., a skimming device

 was placed on a POS terminal at Walmart Store #5669, located at 4140 W. Greenfield

 Ave., in West Milwaukee, Wisconsin (the “Milwaukee Walmart”).

       54.    Walmart surveillance captured a dark-colored SUV matching the

 appearance of vehicle used in the January 31, 2022, Muskego Walmart skimming

 incident entering the Milwaukee Walmart parking lot area at 10:16 a.m. Video

 surveillance shows that the vehicle was a dark Mazda SUV bearing California license

 plate # 8XPT085 (the “Mazda”). Below is a screenshot with the license plate

 magnified:




       55.    Walmart surveillance shows the Mazda parking in an adjacent parking

 lot, RIGO and Barzecu exiting the vehicle, and RIGO and Barzecu walking together

 into the Walmart.




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       56.    Walmart surveillance captured RIGO and Barzecu entering the

 Milwaukee Walmart at approximately 10:22 a.m. The footage shows RIGO wearing

 the same Puma baseball cap he was wearing on January 31, 2022; and Barzecu

 wearing the same puffy Adidas jacket that he was wearing in the previous skimming

 incidents at Chicago area Walmart stores. He also has the same build and beard as

 captured by the earlier surveillance photos. A screenshot is below:




       57.    Walmart surveillance footage shows RIGO placing the skimming device

 on a POS terminal at approximately 10:33 a.m. while Barzecu watches. A screenshot

 is below:




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          58.   Walmart surveillance footage shows RIGO and Barzecu exit the

 Milwaukee Walmart together, at approximately 10:36 a.m. RIGO and Barzecu then

 walked back to the Mazda and exited the parking lot in the Mazda. Screenshots are

 below:




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       59.   Milwaukee Walmart employees removed the skimming device on

 February 7, 2022, at approximately 11:19 a.m. The skimming device had access to

 payment information for 433 payment cards.

                v. February 4, 2022: RIGO and Barzecu Deployed Skimming
                   Device at New Berlin Walmart

       60.   On February 4, 2022, at approximately 10:57 a.m., Walmart

 surveillance captured RIGO and Barzecu entering Walmart Store #5438, located in

 New Berlin, Wisconsin (the “New Berlin Walmart”). The New Berlin Walmart is

 located about 9 miles west of the Milwaukee Walmart.

       61.   At approximately 11:01 a.m., Walmart surveillance captured RIGO

 placing a skimming device on a POS terminal at the New Berlin Walmart while

 Barzecu stood next to him and watched.

       62.   Walmart surveillance captured RIGO and Barzecu exiting the New

 Berlin Walmart at approximately 11:03 a.m. Surveillance did not capture the vehicle

 in which RIGO and Barzecu arrived or departed.




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       63.    At approximately 11:23 a.m. on February 6, 2022, Walmart employees

 removed the skimming device. The skimming device had access payment card

 information for 421 payment cards.

                vi. February 4, 2022: RIGO and Barzecu Deployed Skimming
                    Device at Pewaukee Walmart

       64.    On February 4, 2022, at approximately 11:28 a.m. Walmart surveillance

 captured RIGO and Barzecu entering Walmart Store #3322, located in Pewaukee,

 Wisconsin (the “Pewaukee Walmart”). The Pewaukee Walmart is located about 10

 miles northwest of the New Berlin Walmart.

       65.    Walmart surveillance captured RIGO placing a skimming device on a

 POS terminal at the Pewaukee Walmart while Barzecu stood next to him and

 watched.

       66.    Walmart surveillance captured RIGO and Barzecu exiting the

 Pewaukee Walmart at approximately 11:38 a.m. Surveillance did not capture the

 vehicle in which RIGO and Barzecu arrived or departed.

       67.    The same day, at approximately 12:06 p.m., Walmart employees

 removed the skimming device. According to Walmart records, the skimming device

 did not have access to any payment card information.

               vii. February 7, 2022: RIGO and Barzecu Entered a Franklin
                    Walmart Together, and Left Without Deploying a
                    Skimming Device

       68.    On February 7, 2022, Walmart surveillance captured RIGO and Barzecu

 entering Walmart store # 1551 in Franklin, Wisconsin (the “Franklin Walmart”) at

 11:42 a.m. Barzecu is wearing a different jacket, but he has the same build, is wearing



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 a similar hat, and has matching facial hair from previous incidents. RIGO has the

 same gray hair and Puma baseball cap seen in previous incidents.




       69.    RIGO and Barzecu did not place a skimming device on a POS terminal

 during this visit. They entered the store and left after 2 minutes. Surveillance video

 captures them exiting the Franklin Walmart at 11:44 a.m.

       70.    Walmart surveillance captured RIGO and Barzecu entering the Mazda

 and departing in the Mazda. A screenshot is below:




              viii. February 10, 2022: Individual A Deployed Skimming
                    Device at Streamwood Walmart


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       71.     On February 10, 2022, at approximately 3:45 p.m. Walmart surveillance

 captured Individual A entering Walmart Store #1420, located in Streamwood, Illinois

 (the “Streamwood Walmart”).

       72.     Walmart surveillance captured Individual A placing a skimming device

 on a POS terminal at 4:00 p.m. at the Streamwood Walmart.

       73.     Walmart surveillance captured Individual A exiting the Naperville

 Walmart at approximately 4:05 p.m. On February 17, 2022, Walmart employees

 removed the skimming device. The skimming device had access to payment card

 information for approximately 923 payment cards.

             d. Law Enforcement Locates the Mazda

       74.     On February 8, 2022, I conducted a LEADS search using the Mazda’s

 license plate number. The LEADS search revealed that the Mazda’s license plate was

 issued to a 2021 Mazda SUV, VIN #JM3KFBCM2M0444897, leased to an Individual

 C in Los Angeles, California. According to law enforcement databases, Individual C

 owns a Autolux rent-a-car in West Hollywood, California.

       75.     On February 8, 2022, law enforcement ran the Mazda’s license plate

 number through the Automatic License Plate Reader (ALPR) system located in the

 CLEAR database. The ALPR system uses high-speed cameras to record vehicle

 license plates and allows law enforcement to determine where vehicles involved in

 criminal activity have travelled.

       76.     The ALPR system indicated that the Mazda was in Skokie, Illinois on

 numerous occasions between October 10, 2021 and February 7, 2022.



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       77.    On February 9, 2022, law enforcement conducted an additional search

 for the Mazda on the ALPR system. According to the ALPR system, the Mazda was

 parked outside a garage near Lincoln Avenue and Skokie Boulevard in Skokie,

 Illinois on February 9, 2022, at approximately 12:42 a.m.

       78.    On that same date, law enforcement conducted a search of the area of

 Lincoln Avenue and Skokie Boulevard in an effort to locate the Mazda. During this

 search, law enforcement located a vehicle matching the description and license plate

 number of the Mazda. This vehicle was located, parked in the driveway in front of a

 townhome located at 7416a Lincoln Avenue in Skokie, Illinois.

       79.    On February 10, 2022, the Illinois Tollway Authority regarding provided

 tollway usage records for the Mazda. According to a representative of the Illinois

 Tollway Authority, the Mazda had received 13 tollway violations between January 1

 and February 10, 2022, all of which appeared to occur on the tollway system between

 Skokie, IL, and Wisconsin.

       80.    The Illinois Tollway Authority records contained photographs of a

 January 31, 2022, violation involving the Mazda depicted the front end of the vehicle

 and showed the face of the passenger of the vehicle. The individual captured on

 surveillance matches the appearance of RIGO. A screenshot is below:




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       81.     As set forth above, earlier that day, on January 31, 2022, Barzecu and

 RIGO used the Mazda to travel to the Greendale Walmart and the Muskego Walmart

 to deploy skimming devices. Barzecu and RIGO exited the Greendale Walmart at

 11:29 a.m., about 2 hours before the Mazda was depicted at Illinois Toll Plaza 21.

 Illinois Toll Plaza 21 is about 40 miles south of the Greendale Walmart.

             e. February 11, 2022: RIGO and Barzecu Commit ATM Fraud Using
                Fraudulent Debit Cards

       82.     According to a fraud investigator from Landmark Credit Union, on

 February 11, 2022, two unknown males committed ATM fraud at a Landmark Credit

 Union branch in Greenfield, Wisconsin. Landmark Credit Union reported that one of

 the males made six withdrawal attempts on three debit cards and was successfully

 able to withdraw $400 with one card. After withdrawing $400, surveillance showed

 him walking over to a vehicle in an adjacent parking lot. A few minutes later, another

 man walked over to the ATM from the same vehicle. The second man attempted four

 transactions on three cards, all of which were unsuccessful.

       83.     I reviewed surveillance footage from Landmark Credit Union relating to

 this incident. The unknown males who attempted the ATM transactions match the

 appearance of RIGO and Barzecu. RIGO is wearing the same baseball cap as in

 previous skimming incidents. Barzecu has the same build and facial hair as in

 previous skimming incidents. The vehicle that they used in connection with the ATM

 fraud is a dark-colored SUV that matches the general appearance of the Mazda.

 Screenshots are below:




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             f. Walmart Reports Additional Skimming Incidents Involving
                RIGO, Barzecu, and Individual A

       84.     On February 25, 2022, a Walmart internal investigator informed me

 that individuals matching the description of RIGO and Barzecu were observed on

 video surveillance placing overlay skimming devices on POS terminals at Walmart

 locations in Shakopee and Lakeville, Minnesota on February 23, 2022.

       85.     On February 26, 2022, a Walmart internal investigator informed me

 that an individual matching the description of Individual A was observed on video

 surveillance placing overlay skimming devices on POS terminals at Walmart

 locations in New Lenox and Joliet, Illinois. Surveillance captured Individual A

 entering a parking area near the Walmart Joliet in a grey or silver Kia 4 door sedan.

             g. Law Enforcement Obtains a GPS Tracking Warrant and
                Conducts Surveillance of the RIGO and Barzecu



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       86.    On February 18, 2022, Magistrate Judge Jeffrey Cole of the Northern

 District of Illinois signed a warrant allowing law enforcement to place a GPS tracking

 device on the Mazda. Law enforcement placed the tracker on the Mazda at

 approximately 11:40 p.m. on February 22, 2022.

       87.    On March 2, 2022, law enforcement observed that the tracker device on

 the Mazda showed movement. Law enforcement conducted surveillance on the Mazda

 using the tracking device and in-person observation.

       88.    At approximately 7:15 a.m. on March 2, 2022, I arrived at Fresh Farms

 International Market at 5740 W Touhy Avenue in Niles, Illinois to obtain surveillance

 footage of the Mazda, which was observed at that location via the GPS tracking

 device.

       89.    While viewing video surveillance, I observed RIGO and Barzecu enter

 the parking lot driving the Mazda. I observed RIGO and Barzecu exit the Mazda and

 walk through the Fresh Farms International Market parking lot. RIGO and Barzecu

 matched their appearance from previous surveillance photos and video. Specifically,

 RIGO appeared to have the same blue jacket and grey hair pictured in previous

 surveillance footage. Barzecu had a scruffy beard and heavy build, as seen in previous

 surveillance footage. Barzecu was not wearing any face covering at this time. I was

 able to take photos of both RIGO and Barzecu, shown below:




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       90.    I also observed, and took pictures of, a tattoo on Barzecu’s upper back

 and neck. The tattoo appears to depict an eagle. This tattoo matches a tattoo on

 Barzecu captured in previous surveillance photos at a Walmart location where

 Barzecu deployed skimming devices. Below are pictures of the neck tattoo. On the left

 is the picture from the Fresh Farms International Market parking lot on March 2,

 2022. On the right is a surveillance photo from the Northlake Walmart on December

 26, 2021.




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             h. March 13-14, 2022: Law Enforcement Identifies RIGO and
                Barzecu

       91.     On March 14, 2022, law enforcement conducting surveillance, observed

 Barzecu driving the Mazda with RIGO sitting in the passenger seat. At

 approximately 1:03 p.m., law enforcement observed the Mazda travelling 52 miles

 per hour in a 40 mile per hour zone. Law enforcement conducted a traffic stop of the

 Mazda at 1501 Lake Cook Road in Buffalo Grove.

       92.     During the traffic stop, the driver provided law enforcement with a

 Romanian identification card with the name, “Mircea Barzecu.” The picture on the

 identification card matched the appearance of Barzecu. The passenger, RIGO,

 produced a Hungarian identification card. The picture on the identification card

 matched the appearance of RIGO. Law enforcement observed that BARZECU had a




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 tattoo matching the eagle tattoo observed in previous surveillance photos from a

 skimming incident on Barzecu’s upper back and neck.

       93.        During the traffic stop, Barzecu stated that he had been in the United

 States for the last two months and in the Chicago area for several weeks. Barzecu

 stated that he had been staying at a hotel in Chicago. He could not remember the

 name of the hotel, but he looked it up on his phone and identified the hotel as the

 Hyatt Centric Hotel at 633 St. Clair Street in Chicago. Barzecu stated he and RIGO

 were in the business of buying used cars on the internet. Barzecu stated that he was

 in Buffalo Grove to look at cars for sale. Barzecu stated that RIGO rented the Mazda.

 RIGO said that he did not speak English.

       94.        Barzecu and RIGO also provided a rental agreement from Auto Lux

 Rent A Car showing that the Mazda was rented to RIGO.

             i.    Barzecu and RIGO Travel to Colorado

       95.        On March 14, 2022, two hours after the traffic stop in Buffalo Grove, the

 tracker device showed the Mazda traveling southwest to St. Louis. On March 15,

 2022, the Mazda travelled to Kansas City, west into Kansas, and stopped in

 Lakewood, Colorado for the night.

       96.        On March 16, 2022, law enforcement conducted surveillance on the

 Mazda in and around Lakewood, Colorado and Littleton, Colorado. Law enforcement

 observed Barzecu and RIGO enter two Colorado Walmart locations and attempt to

 use counterfeit access device. Law enforcement surveillance observed them travel to




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 several other retail stores and ATM machines and use or attempt to use access

 devices and payment cards.

       97.    Visa, Inc. is headquartered in Foster City, California. American Express

 is headquartered in New York, New York. Mastercard is headquartered in Purchase,

 New York.

       98.    Walmart transactions are processed through data centers in Colorado

 and Arkansas.

    III.     CONCLUSION

       99.    Based on the above, I submit that there is probable cause to believe that

 from on or about December 21, 2021 to on or about February 10, 2022, JANOS RIGO

 conspired with MIRCEA BARZECU and Individual A to knowingly, and with intent

 to defraud, possess fifteen or more unauthorized access devices, namely credit and

 debit card numbers, affecting interstate and foreign commerce, in violation of Title

 18, United States Code, Sections 1029(a)(3) and 1029(b)(2).




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